                    UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF PENNS\T-,VANIA

I]NITED STATES OFAMERICA                :     No.




CAROL CALT"AHANBBNE,                          (electronically frled)
                Defendant

                             PLEAAGREEMENT

     The following Plea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above'

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.

A. Violation(s), Penalties, and Dismineal of Other Counte

    1.   Guiltv plea. The defendant a grees to plead guilty to Count One

         of the Information, which charges the defendant with a violation

         of   Title 21, United States Code,   $$ S42(d(10) and (c)(Z)G), the

         knowing failure to make annual reports to the Attorney General

         concerning List I chemicals manufacturing. The maxtmum

         penalty for that offense is imprisonment for a period of one year,

         a fine of $100,000, a maximum term of supervised release of one
year, which shall be served at the conclusion of, and in addition

to, any term of imprisonment. as well as the costs of

prosecution, imprisonment, probation, or supervised release

ordered, denial ofcertain federal benefits, and an assessment in

the amount of $25. At the time the guilty plea is entered, the

defendant shall admit to the court that the defendant is, in fact,

guilty ofthe offense charged in that count. The defendant

agrees, however, that the United States may, at its sole election,

seek additional charges, in the event    that any guilty plea

entered or sentence imposed pursuant to this Agreement is

subsequently vacated, set aside, or invalidated by any court.

The defendant further agrees to waive any defenses to the filing

of additional charges, based upon laches, the assertion of speedy

trial rights, any applicable statute   of limitations, or any other

ground. The calculation of time under the Speedy Trial Act for

when trial must commence is tolled as of the date of the

defendant's signing of this PIea Agreement.



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2.   Venue Waiver. The defendant agrees to knowingly waive the

     right to challenge venue in the United States District Court for

     the Middle District of Pennsylvania.

3.   Term of Supervised Release. The defendant understands that

     the court may require a term of supervised release. In addition,

     the defendant understands that as a condition ofany term of

     supervised release or probation, the court must order that the

     defendant cooperate in the collection of a DNA sample if the

     collection of a sample is so authorized by law.

4.   No Further Prose cuti o n. Except Tax Charees. The United

     States Attorney's Office for the Middle District of Pennsylvania

     agrees that   it will not bring any other criminal charges against

     the defendant directly arising out ofthe defendant's

     involvement in the offense described above. However, nothing

     in this Agreement will limit prosecution for criminal tax

     charges, if any, arising out ofthose offenses.

5.   Return of Seized Propertv. Upon the defendant's entry ofa plea

     of guilty, and subject to the joint plea agreement provisions set
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          forth in paragraph       16 of   this Plea Agreement, the United States

          will return to the defendant $223,000 and 300 Canadian Maple

          Leaf gold coins, seized from the defendant on or about February

          22. 2077.

B.   Fines and    BBE     It f,T


     6.   Fi.ne. The defendant understands that the court may impose a

          fine pursuant to the Sentencing Reform Act of 1984. The willful

          failure to pay any fine imposed by the court, in full, may be

          considered a breach ofthis Plea Agreement. Further, the

          defendant acknowledges that willful failure to pay the fine may

          subject the defendant to additional criminal violations and civil

          penalties pursuant to Title 18, United States Code, $ 3611, et

          seq.

     7.   Alternative Fine. The defendant understands that under the

          alternative fine section of Title 18, United States Code,      S 3571,

          the maximum fine quoted above may be increased if the court

          finds that any person derived pecuniary gain or suffered

          pecuniary loss from the offense and that the maximum fine to
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     be imposed.   if the court elects to proceed in this fashion, could

     be twice the amount of the gross gain or twice the amount of the

     gross loss resulting from the offense.

8.   Inmate Financial Re sponsibiiitv Prosram. If the court orders         a

     fine or restitution as part of the defendant's sentence, and the

     sentence includes a term of imprisonment, the defendant agrees

     to voluntarily enter the United States Bureau of Prisons-

     administered program known as the Inmate Financial

     Responsibility Program. through which the Bureau of Prisons

     will collect up to 50% of the defendant's prison salary, and up to

     50%   ofthe balance ofthe defendant's inmate account, and apply

     that amount on the defendant's behalf to the payment of the

     outstanding fine and restitution orders.

L    Special Assessment. The defendant understands that the court

     will impose a special assessment of $25, pursuant to the

     provisions of Title 18, United States Code, $ 3013. No later

     than the date of sentencing, the defendant or defendant's

     counsel shall mail a check in payment of the special assessment
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    directly to the Clerk. United States District Court, Middle

    District of Pennsylvania. If the defendant intentionally fails to

    make this payment, that failure may be treated as a breach of

   this Plea Agreement and may result in further prosecution, the

   filing of additional criminal charges, or a contempt citation.

10. Collection of Financial Oblisations. In order to facilitate the

   collection of financial obligations imposed in connection with

   this case, the defendant consents and agrees:

   a    to fully disclose all assets in which the defendant has an

        interest or over which the defendant has control, directly or

        indirectly, including those held by a spouse, nominee, or

        other third partyi

   b.   to submit to interviews by the Government regarding the

        defendant's financial statusi

        to submit a complete, accurate, and truthful financial

        statement, on the form provided by the Government, to the

        United States Attorney's Office no later than 14 days

        following entry of the guilty pleai
                                 6
           d.   whether represented by counsel or not. to consent to contact

                by and communication with the Government, and to waive

                any prohibition against communication with a represented

                party by the Government regarding the defendant's

                financial statusi

           e.   to authorize the Government to obtain the defendant's

                credit reports in order to evaluate the defendant's ability to

                satisfy any financial obligations imposed by the courti and

           f.   to submit any financial information requested by the

                Probation Office as directed, and to the sharing offinancial

                information between the Government and the Probation

                Office.

C.   Sentencing                 Calculation

     11   . Determination of Sentencine Guidelines. The defendant and

           counsel for both parties agree that the United States Sentencing

           Commission Guidelines, which took effect on November 7, 7987,

           and its amendments, as interpretedby United States v. Booker,

           543 U.S. 220   (200il, will apply to the offense or offenses to
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   which the defendant is pleading guilty. The defendant further

   agrees that any legal and factual issues relating to the

   application ofthe Federal Sentencing Guidelines to the

   defendant's conduct, including facts to support any specific

   offense characteristic or other enhancement or adjustment and

   the appropriate sentence within the statutory maximums

   provided for by law, will be determined by the court after

   briefing, a pre'sentence hearing, and-/or a sentencing hearing.

12. Acceptance of Responsibilitv- Two Levels.   Ifthe defendant   can

   adequately demonstrate recognition and affirmative acceptance

   of responsibility to the Government as required by the

   Sentencing Guidelines, the Government will recommend that

   the defendant receive a two-level reduction in the defendant's

   offense level for acceptance of responsibility. The failure ofthe

   court to find that the defendant is entitled to a two'level

   reduction shall not be a basis to void this PIea Agreement.




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13. Specific Sentencine Guidelines Recommendations. With respect

   to the application ofthe Sentencing Guidelines to the

   defendant's conduct, the parties agree to recommend as follows:

        Pureuant to U.S.S.G.   S   2D3.2, the baee ofreDae Ievel is 4i

        and

   b.   Pursuant to U.S.S.G. $ 3B1.1(c), the defendant was aD

        orgqniz€J, leader, manager, Or SuperriAor.

   Each party reserves the right to make whatever remaining

   arguments it deems appropriate with regard to application of

   the United States Sentencing Commission Guidelines to the

   defendant's conduct. The defendant understands that this

   recommendation is not binding upon either the court or the

   United States Probation Office, which may make different

   findings as to the application ofthe Sentencing Guidelines to

   the defendant's conduct. The defendant further understands

   that the United States will provide the court and the United

   States Probation Office all information in its possession that        it


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        deems relevant to the application of the Sentencing Guidelines

        to the defendant's conduct.

D.   Sentenci-ue R€commendation

     14. Aoorooriate Senten ce Recommendation. At the time of

        sentencing, the United States may make a recommendation

        that it considers appropriate based upon the nature and

        circumstances ofthe case and the defendant's participation in

        the offense, and specifically reserves the right to recommend a

        sentence up to and including the maximum sentence of

        imprisonment and fine allowable. together with the cost of

        prosecution.

     15. Special Conditions of Probation/ Supervised Release.   If
        probation or a term of supervised release is ordered, the United

        States may recommend that the court impose one or more

        special conditions, including but not limited to the following:

        a   The defendant be prohibited from possessing a firearm or

            other dangerous weapon.



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b.   The defendant make restitution, if applicable, the payment

     of which shall be   in accordance with a schedule to be

     determined by the court.

C    The defendant pay any fine imposed in accordance with a

     schedule to be determined by the court.

d.   The defendant be prohibited from incurring new credit

     charges or opening additional lines ofcredit without

     approval ofthe Probation Office unless the defendant is in

     compliance with the payment schedule.

e    The defendant be directed to provide the Probation Office

     and the United States Attorney access to any requested

     financial information.

f.   The defendant be confined in a community treatment

     center, halfway house, or similar facility.

g.   The defendant be placed under home confinement.

h.   The defendant be ordered to perform community service.




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   I    The defendant be restricted from working in certain types of

        occupations or with certain individuals, if the Government

        deems such restrictions to be appropriate.

   j.   The defendant be directed to attend substance abuse

        counseling. which may include testing to determine whether

        the defendant is using drugs or alcohol.

   k.   The defendant be directed to attend psychiatric or

        psychological counseling and treatment in a program

        approved by the Probation Officer.

   l.   The defendant be denied certain federal benefits including

        contracts, grants, loans, fellowships and licenses.

   m. The defendant    be directed to pay any state or federal taxes

        and file any and all state and federal tax returns as

        required by law.

16. Joint PIea Asreement. The defendant agrees and understands

   that an express condition of this Plea Agreement is that Brian

   Byrne plead guilty to an information charging a violation of

   Title 21, United States Code,     gg Saz(a)(tO) and (c)(Z)G), the

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knowing failure to make annual reports to the Attorney General

concerning List I chemicals manufacturing, and that Natural

Advantage LLC, alVa Taste Advantage LLC (collectively

"Natural Advantage"), enter a deferred prosecution agreement

to an information charging a violation of Title 21, United States

Code, $ Saa(a)(g), the distribution and exportation    ofList I

chemicals without a requisite registration. The failure of Brian

Byrne to plead guilty to that information, or Natural Advantage

to enter that deferred prosecution agreement, will be grounds

for the United States to rescind this Plea Agreement.      ln
addition, the defendant agrees that the United States may, at

its sole election, seek additional charges in the event that the

charges to which Brian Byrne has pleaded guilty, or the

deferred prosecution agreement that Natural Advantage has

entered, are subsequently vacated or set aside by the district

court or any appellate court. The defendant further agrees to

waive any defenses to the filing ofthose charges based upon

laches, the assertion of speedy   trial rights, any applicable
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        statute of limitations, or any other ground in the event that

        Brian Byrne successfully vacates or sets aside any conviction

        imposed upon the information, or that Natural Advantage

        successfully vacates or sets aside the deferred prosecution

        agreement.

E.   Information Provided to Court and Probation Office

     17. Backsround Information for Probation Office. The defendant

        understands that the United States will provide to the United

        States Probation Office all information in its possession that the

        United States deems relevant regarding the defendant's

        background, character, cooperation, if any, and involvement in

        this or other offenses.

     18. Objections to Pre-Sentence Report. The defendant understands

        that pursuant to the United States District Court for the Middle

        District of Pennsylvania "Policy for Guideline Sentencing" both

        the United States and defendant must communicate to the

        Probation Officer within 14 days after disclosure ofthe pre-

        sentence report any objections they may have as to material
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    information, sentencing classifications, sentencing guideline

    ranges, and policy statements contained in or omitted from the

    report. The defendant agrees to meet with the United States at

   least five days prior to sentencing in a good faith attempt to

   resolve any substantive differences. Ifany issues remain

   unresolved, they shall be communicated to the Probation Officer

   for inclusion in an addendum to the pre-sentence report. The

   defendant agrees that unresolved substantive objections will be

   decided by the court after briefing, or a pre-sentence hearing, or

   at the sentencing hearing where the standard or proof will be a

   preponderance ofthe evidence, and the Federal Rules of

   Evidence, other than with respect to privileges, shall not apply

   under Fed. R. Evid. 1101(d)(3), and the court may consider any

   reliable evidence, including hearsay. Objections by the

   defendant to the pre-sentence report or the court's rulings, will

   not be grounds for withdrawal of a plea of guilty.

19. Relevant Sentencine Information. At the sentencing, the

   United States will be permitted to bring to the court's attention,
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   and the court wiII be permitted to consider, all relevant

   information about the defendant's background, character and

   conduct, including the conduct that is the subject ofthe charges

   that the United States has agreed to dismiss, and the nature

   and extent ofthe defendant's cooperation,   ifany.   The United

   States will be entitled to bring to the court's attention and the

   court will be entitled to consider any failure by the defendant to

   fulfill any obligation under this Agreement.
20. Non-Limitation on Government's Response. Nothing in this

   Agreement shall restrict or limit the nature or content of the

   United States' motions or responses to any motions filed on

   behalf of the defendant. Nor does this Agreement in any way

   restrict the government in responding to any request by the

   court for briefing, argument or presentation of evidence

   regarding the application ofSentencing Guidelines to the

   defendant's conduct, including but not limited to, requests for

   information concerning possible sentencing departures.


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F.   Court Not Bound by Plea A8reement

     21. Court Not Bound by Terms. The defendant understands that

        the court is not a party to and is not bound by this Agreement,

        or any recommendations made by the parties. Thus, the court is

        free to impose upon the defendant any sentence up to and

        including the maximum sentence of imprisonment for one year,

        a fine of $100,000, a maximum term of supervised release of up

        to one year, which shall be served at the conclusion ofand in

        addition to any term of imprisonment, the costs of prosecution,

        denial of certain federal benefits, and assessments totaling $25.

     22. No Withdrawal of PIea Based on Sentence or Recommendations.

        If the court imposes a sentence with which the defendant is

        dissatisfied, the defendant will not be permitted to withdraw

        any guilty plea for that reason alone, nor will the defendant be

        permitted to withdraw any pleas should the court decline to

        follow any recommendations by any of the parties to this

        Agreement.



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G.   Breach of PIea ^dcr€ement by Defendant

     23. Breach of Asreement. In the event the United States believes

         the defendant has failed to fulfill any obligations under this

        Agreement, then the United States shall, in its discretion, have

         the option of petitioning the court to be relieved of its

         obligations. Whether the defendant has completely fulfilled all

        of the obligations under this Agreement shall be determined by

        the court in an appropriate proceeding during which any

        disclosures and documents provided by the defendant shall be

        admissible, and during which the United States shall be

        required to establish any breach by a preponderance ofthe

        evidence. In order to establish any breach by the defendant, the

        United States is entitled to rely on statements and evidence

        given by the defendant during the cooperation phase ofthis

        Agreement, if any.

     24. Remedies for B reach. The defendant and the United States

        agree that in the event the court concludes that the defendant

        has breached the Agreement:
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    a   The defendant will not be permitted to withdraw any guilty

        plea tendered under this Agreement and agrees not to

        petition for withdrawal of any guilty pleai

   b.   The United States will be free to make any

        recommendations to the court regarding sentencing in this

        C&S€:


        Any evidence or statements made by the defendant during

        the cooperation phase of this Agreement, if any, will be

        admissible at any trials or sentencingsi

   d.   The United States will be free to bring any other charges   it
        has against the defendant, including any charges originally

        brought against the defendant or which may have been

        under investigation at the time ofthe plea. The defendant

        waives and hereby agrees not to raise any defense to the

        reinstatement ofthese charges based upon collateral

        estoppel, Double Jeopardy, or other similar grounds.

25. Violation of Law While Plea or Sentence Pendine. The

   defendant understands that    it is a condition ofthis   PIea
                               19
Agreement that the defendant refrain from any further

violations of state, local, or federal law while awaiting plea and

sentencing under this Agreement. The defendant acknowledges

and agrees that if the government receives information that the

defendant has committed new crimes while awaiting plea or

sentencing in this case, the government may petition the court

and,   ifthe court finds by a preponderance ofthe   evidence that

the defendant has committed any other criminal offense while

awaiting plea or sentencing, the Government shall be free at its

sole election to   either: (a) withdraw from this Agreementi or (b)

make any sentencing recommendations to the court that       it
deems appropriate. The defendant further understands and

agrees that,   if the court finds that the defendant has committed

any other offense while awaiting plea or sentencing, the

defendant will not be permitted to withdraw any guilty pleas

tendered pursuant to this Plea Agreement, and the government

will be permitted to bring any additional charges that it may

have against the defendant.
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H.   Liceneips. Reeisnatiotl and Disbarment

     26. Status ofProfessional License.   It   is further understood and

        agreed that the status ofany professional license held by the

        defendant is not protected by this Agreement and is a matter

        solely within the discretion ofthe appropriate licensing

        authority. The United States may in its discretion provide to

        any such licensing authority any documents and information in

        its possession.

I.   Deportation

     27. Deportation/Removal from the United States. The defendant

        understands that. if defendant is not a United States citizen.

        deportation/removal from the United States is a possible

        consequence   ofthis plea. The defendant further agrees that

        this matter has been discussed with counsel who has explained

        the immigration consequences of this plea. Defendant still

        desires to enter into this plea after having been so advised.




                                    27
J.   Appeal Waiver

     28. Conditional Anoeal Waiver. Th e defendant is aware that Title

         28, United States Code, $ 1291 affords a defendant the    right to

        appeal a judgment of conviction and sentencei and that Title 18,

        United States Code, $ 37a2(a) affords a defendant the right to

        appeal the sentence imposed. Acknowledging all of this, the

        defendant knowingly waives the right to appeal the conviction

        and sentence, on the express condition that the Court impose a

        sentence within or below the applicable advisory guidelines

        sentencing range as that sentencing range is determined by the

        Court. In the event the Court imposes a sentence greater than

        the applicable advisory guidelines sentencing range, as that

        sentencing range is determined by the Court, the defendant

        retains the right to appeal the conviction and sentence.

K.   Other Provisions

     29. Asreement Not Bindins on Other Asencies. Nothing in this

        Agreement shall bind any other United States Attorney's Office,



                                   22
   state prosecutor's office, or federal, state or local law

   enforcement agency.

30. No Civil Claims or Suits. The defendant agrees not to pursue or

   initiate any civil claims or suits against the United States of

   America, its agencies or employees, whether or not presently

   known to the defendant, arising out ofthe investigation,

   prosecution or cooperation, if any, covered by this Agreement,

   including but not limited to any claims for attorney's fees and

   other litigation expenses arising out ofthe investigation and

   prosecution of this matter. By the defendant's guilty plea in

   this matter the defendant further acknowledges that the

   Government's position in this litigation was taken in good faith,

   had a substantial basis in law and fact and was not vexatious.

31. Plea Agreement Serves Ends of Justice. The United States is

   entering into this PIea Agreement with the defendant because

   this disposition ofthe matter fairly and adequately addresses

   the gravity ofthe series ofoffenses from which the charges are


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   drawn, as well as the defendant's role in such offenses, thereby

   serving the ends of justice.

32. Merger of All Prior Nesotiations. This document states the

   complete and only Plea Agreement between the United States

   Attorney for the Middle District of Pennsylvania and the

   defendant in this case, and is binding only on the parties to this

   Agreement and supersedes all prior understandings or plea

   offers, whether written or oral. This agreement cannot be

   modified other than in writing that is signed by all parties or on

   the record in court. No other promises or inducements have

   been or will be made to the defendant in connection with this

   case, nor have any predictions or threats been made   in

   connection with this plea. Pursuant to Rule 11 ofthe Federal

   Rules of Criminal Procedure, the defendant certifies that the

   defendant's plea is knowing and voluntary, and is not the result

   of force or threats or promises apart from those promises set

   forth in this written PIea Agreement.


                              24
33. Defendant is Satisfied with Assistance of Counsel. The

   Defendant agrees that the defendant has discussed this case

   and this plea agreement in detail with the defendant's attorney

   who has advised the defendant ofthe defendant's Constitutional

   and other trial and appeal rights, the nature ofthe charges, the

   elements of the offenses the United States would have to prove

   at trial, the evidence the United States would present at such

   trial, possible defenses, the advisory Sentencing Guidelines and

   other aspects of sentencing, potential losses of civil rights and

   privileges, and other potential consequences of pleading guilty

   in this   case. The defendant agrees   that the defendant is

   satisfied with the legal services and advice provided to the

   defendant by the defendant's attorney.

34. Required Sisnatures. None of the terms of this Agreement shall

   be binding on the Office of the United States Attorney for the

   Middle District of Pennsylvania until signed by the defendant

   and defense counsel and then signed by the United States

   Attorney or his designee.
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                             ACKNOWLEDGMENTS

     I have read thrs agreetnent and calefulh' t'eviewed evel'\' pal't of'it
with nrv attonr('\'. I firllv undcrstand it and I voltrntarih' agree to it.

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